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  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF COLORADO
  Civil Action No. 20-cv-00694-PAB-SKC

  MOSTAFA KAMEL MOSTAFA,

          Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her individual capacity,
  LOEWE, ADX officer, in his individual capacity,
  NORJANO, ADX Officer, in his individual capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity,

          Defendants.

            Plaintiff Mostafa Kamel Mostafa's Response in Opposition to Defendants'
       Motion to Strike [Doc. 247] Plaintiff's Pro Se Motion for Leave to File Supplemental
        Response to Defendants' Early Motion for Partial Summary Judgment [Doc. 234]

          The Court should GRANT the Plaintiffs' Pro Se Motion for Leave to File Supplemental

  Response to Defendants' Early Motion for Partial Summary Judgment, which is summarized

  herein, and reorganized into the categories and sequence set forth in the Defendants' Early

  Motion for Partial Summary Judgment. [Doc. 234] As undersigned counsel explained in an

  email before the Defendants filed their Motion to Strike, "I asked Ms. Prose for early discovery

  of the 'remedy packets' before she filed her motion for summary judgment but she refused, so I

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  had to defend the motion without having any of the correspondence. A day or two after I filed

  my response, the government agreed to produce the information." See Exhibit 8 attached hereto,

  conferral among counsel by email, at 2. "I have been working through what I have, which

  appears to be about 80% of it. I am not sure what my procedural options are, since I have

  already responded to the motion. It seems like the government should file another motion for

  summary judgment at the appropriate time, which is after discovery. If you want to send me a

  draft of your motion, I will take a look at it, but I doubt there is a basis to strike the filing under

  Rule 11 and will oppose." Id. The Defendants didn't provide a draft of their motion, as required

  by Rule 11, or cite any case law in favor of their interpretation of Rule 11, which governs the

  signing of documents filed in Court.           It does not prohibit the Plaintiff from directly

  communicating with the Court, and nor do the SAMs.

         When undersigned counsel filed his response to Defendants' Early Motion for Partial

  Summary Judgment, this informal discovery request for the "Remedy Packets" of adminstrative

  correspondence was attached as Exhibit 1. See Doc 235-2 at 1. "Dear Susan - I was thinking

  about how to litigate the exhaustion issues. I understand why you prefer to challenge the claims

  that way before having to brief potentially complex legal issues. My objection has been that I do

  not have a complete record of the Plaintiff's Administrative Remedy Program requests and

  appeals. There are two ways I can think of to satisfy this. One would be for you to do a complete

  accounting of all of them, and file them all as an exhibit to your motion. I need to read the text of

  the requests to see whether, for example, he complained that his prosthetics didn't work properly,

  or that he was unable to wash himself properly. If being unable to wash properly impacts on his

  religious rights, the plaintiff would only have to complain about the hygiene and is not required

  to know the legal basis. The Plaintiff does not access to his files generally, so cannot provide



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  them to me. He made a chart of them in one of his pro se filings, but I would like to take a look

  at it, to see if he mentioned the issues you say were not exhausted. A second way would be for

  the government to provide me with all of this correspondence in discovery. I would consent to an

  early motion for partial summary judgment, and the government would consent to early

  discovery of the administrative records for all of the plaintiffs requests." Doc 235-2, September

  12, 2022 6:57 AM email from Paul Wolf, Esq. to Susan Prose, Esq.

         The Defendants' response to these reasonable requests was to file their Motion for Partial

  Summary Judgment, not provide the Remedy Packets, and not respond to the proposed solution

  at all. Id. Therefore, as explained in the Plaintiffs' Opposition and Cross Motion for Early

  Discovery, [Docs. 235, 237], counsel had to respond to the Motion on the basis of the

  information provided in a declaration attached to their motion, which was based on top level

  summaries of the claims in the Sentry index. See Declaration of Paula Trujillo, [Doc 234-1] at

  36 et seq.

         On November 14, 2022, the day after the Plaintiff filed his Opposition, the Defendants

  agreed to provide the adminstrative records of the claims, called "Remedy Packets." See Exhibit

  8, attached hereto, email from Susan Prose, Esq. to Paul Wolf, Esq. of Nov 14, 2022 "Although

  Defendants disagree with Mr. Mostafa's position, after conferring with BOP regarding the Rule

  56(d) motion, BOP has authorized me to provide you (1) all remedy packets for Mr. Mostafa

  maintained by BOP, and (2) a full administrative remedy index, going back to Mr. Mostafa’s

  initial designation to BOP custody. I received these materials from BOP late last week and have

  just finished bates-numbering them for ease of reference. By providing these materials to you,

  Defendants respectfully reserve all arguments that they may make in response to Mr. Mostafa’s

  Rule56(d) motion." Id. at 4. A few days later, the Defendants provided a link to a file entitled



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  "Remedy Packets 1-924" and two other files entitled "Mostafa Full Index 10-16-2012 to 10-08-

  2015 BOP 925-983" and "Mostafa Full Index 10-08-2015 to 11-08-2022 BOP 984-1177.1 These

  appear to be the Defendant's complete records of the administrative correspondence for

  approximately 498 claims.

         Since the Defendants filed their Rule 56 Motion after refusing to provide the

  administrative correspondence in informal discovery, if Court rules on the Motion as it was

  briefed, it must make all inferences in the light most favorable to the Plaintiff, based on the

  Sentry index entries, which refer to disability claims, claims for restrictions on communications

  with his family, lawyers, and the courts, and all of the other categories set forth in Plaintiff's

  complaint, as explained in Plaintiff's Opposition. [Doc. 237] Good cause exists, however, to

  supplement Plaintiff's response to the Defendants Early Motion for Partial Summary Judgment

  as set forth herein, allow the Defendants a reply of equal page length, and then rule based on

  counsel's summary of it herein, denying the pro se motion as moot. The good cause is that the

  Court should rule on the record of administrative correspondence, rather than just the Sentry

  index entries, and it should be in the possession of the Plaintiff as well as the Defendants. It was

  the Defendants' deliberate strategy to file a Rule 56 Motion before discovery, and as the conferral

  among counsel shows. See Exhibit 8, attached hereto.

         There's no reason to strike the pro se filing from the record, which the Plaintiff needed to

  do to protect his rights. Undersigned counsel was not in possession of this information, and the

  Plaintiff was only in possession of some of it. There was no abuse of the process on the part of

  the Plaintiff. On the contrary, it is the Defendants who want the Court to rule on a motion for



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    The numbers in the file titles appear to correspond to the Bates number ranges of the
  documents in each file. Counsel had been working through this material, which includes about
  500 pages handwritten by the Plaintiff, when the Plaintiff filed his pro se motion.
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  summary judgment based on administrative correspondence that was only in the possession of

  the Defendants, and which contradicts their claims at every step. Therefore the Court should

  consider these supplemental facts as well:

                  PLAINTIFFS SUPPLEMENTAL STATEMENT OF FACTS

         The Defendants moved the Court to dismiss Mostafa's claims for failure to exhaust

  administrative remedies, which defendants put into the following categories: (1) restrictions on

  contact with five of his grandchildren; (2) restrictions on contacts with attorneys and access to

  the courts; (3) restrictions on group prayer; (4) restrictions on religious meals; (5) allegations

  about the excessive use of force when the Plaintiff engaged in a hunger strike; (6) selecting his

  own occupational therapist; (7) denial of a mask during covid pandemic; (8) mental health and

  psychological distress; and (9) Rehabilitation Act claims. [Doc. 241] at 5-13. This is a complete

  reorganization and re-characterization of the Plaintiffs' claims, which the Defendants say

  correspond to claims # 1, 2, 4, 5, 6, 8 and 10 in the Plaintiffs Third Amended Complaint.

  Nevertheless, the Plaintiff will address the arguments in the order used by the Defendants in their

  Motion, as well as their paragraph numbers. See [Doc. 241] at 5-13.2

  1.     Claim 4: Alleged inability to contact five additional grandchildren. ¶¶ 18-21.3

         In his Opposition, the Plaintiff provided a list of 22 claims related to his SAMs which

  have been fully exhausted and received "A1" file designations. [Doc. 240] at 11. In his pro se

  motion, the Plaintiff contends that he doesn't have to exhaust his remedies for every individual

  grandchild, an argument also made by undersigned counsel in the opposition brief. See [Doc.

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    The Plaintiff made his pro se arguments in a completely different order as well. Because it
  appears to be the easiest for the Court, undersigned counsel is addressing the claims in the order
  presented by the Defendants, and their characterizations of them. They are numbered one to nine
  and include nine new "facts" based on Plaintiff's Pro Se Motion Exhibits.
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    These paragraph numbers refer to the paragraphs in Defendants Statement of Undisputed
  Material Facts, [Doc. 234] at pages 5-13.
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  244] at 35. The Plaintiff repeatedly requested that his SAMs be modified so that he could

  contact his "grandchildren," and cites claim # 964462 as an example. The Plaintiff provided the

  adminstrative record for this claim, which is attached hereto as Exhibit 1. The Plaintiff's request

  for SAMs modification referred to four issues with the SAMs: psychological harm,

  grandchildren, contact with lawyers, and disability.         Id. at 1.    The Defendants' final

  determination, designated 964462-A1, can be found on page 6 of this Exhibit. The Defendants

  determined that the SAMs were appropriate, and states that the Assistant Attorney General has

  determined that the SAMs are appropriate. Id. It is doubtful that this individual was involved in

  this boilerplate response, though. The BOP may not have the authority to modify the SAMs, but

  it can certainly refer the Administrative Remedy Request to the individual who does. Reasonable

  discovery will show that the response was misleading and that the Assistant Attorney General

  wasn't contacted. In addition, the boilerplate response doesn’t advise the Plaintiff that he must

  make additional requests for each grandchild, so that the Defendants could consider them on an

  individual basis.   Id. at 6.   This is only one of more than 20 such requests for SAMs

  modifications that the Plaintiff fully exhausted, which were assigned A1 numbers.              See

  Opposition [Doc. 240] at 11.

  2.     Claims 4 and 11: Alleged inability to contact attorneys/access to courts. ¶¶ 22-27.

         The Plaintiff has shown that he exhausted his administrative remedies with regard to

  contacting prospective attorneys by providing the Defendants final response in claim #875413-

  A1. See Exhibit 2 at 2. As before, the "A1" designation is proof that the claim has been

  exhausted. The Defendant responded that "[a]s indicated by the Warden and Regional Director,

  your request for SAM modification has been forwarded to the appropriate agency for review and

  consideration. It appears further information may be needed regarding this request and you



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  should follow-up with your Unit Team to receive an update on this specific request. However,

  you currently have three attorneys on record that you are approved to communicate with in

  regards to your pending legal matters. We encourage you to continue working with staff at ADX

  Florence to accommodate any of your needs in the future and address any further concerns you

  may have." See Exhibit 2 at 2. By receiving this "A1" response, the Plaintiff exhausted his

  administrative remedies. The three attorneys the Defendants are referring to are apparently

  Michael Bachrach, Sam Schmidt, and Lindsay Lewis, who were appointed pursuant to the

  Criminal Justice Act to defend him in his criminal case in New York. They are not licensed in

  Colorado. In addition to finding counsel for this case, the Plaintiff has been trying to contact his

  attorneys in the UK, including Gareth Pierce and others. Reasonable discovery will show that

  the Plaintiffs' Unit Team has no ability to modify his SAMs, which are controlled by the Office

  of Enforcement Operations of the Department of Justice.

  3.     Claims 1 and 2: Alleged inability to engage in group prayer. ¶¶ 28-30.

         The Plaintiff has shown that he exhausted two claims for group prayer, in # 862521-A1,

  and in # 845884-F1. The Plaintiff avers that the Defendants' Regional Office failed to respond to

  claim # 845884, which is why it didn't receive that "A1" designation. In these requests, the

  Plaintiff had requested a visit by an Imam. The Defendants responded by citing staffing

  problems, acknowledging a legal duty to provide one. See Exhibit 3, attached hereto, at 5. "The

  Chaplaincy Services Department at FCC Florence has made numerous attempts and continues to

  make great efforts to actively recruit the services of an Imam. We encourage you to continue

  working with the institution Chaplaincy Services Department staff to address any religious

  service needs you may have." Exhibit 3 at 5. The second time, the Defendants responded that

  "The contract Imam has not been in the institution since September 18, 2015. Upon the contract



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  Imam's return, and your request in writing to visit him, Religious Services will escort him to

  your living quarters." Id. at 78. The requests for an Imam are substantially the same as the claim

  for group prayer. The Defendants will never hire an Imam, even though the position has

  apparently been open for more than seven years. Four Muslim prisoners could be put in adjacent

  recreational cages, and allowed to form rows in the direction of Mecca to pray and at one of the

  designated times, without hiring an Imam. One of the tenets of this religion is that the followers

  are part of a community called the Ummah. Lining up in rows in the direction of Mecca to pray

  at certain times of the day is an important practice of this religion. The Defendants argue that

  they have recently instituted a group prayer policy in the ADX, but this doesn't compensate for

  the decade when the Plaintiffs' rights were violated, and even now, the Plaintiff disputes whether

  he really has access to it, and he has never observed any group prayer occur in this prison, as he

  alleged in his Complaint.

  4.     Claims 1 and 2: Alleged denial of religious feast meals. ¶¶ 31-32.

         The discovery shows that that Plaintiff has exhausted this claim on at least one occasion.

  See Exhibit 4 attached hereto at 1. This is the final agency response for one of Plaintiff's Eid

  meal requests. The "A1" designation in claim 1030118-A1 was added once the claim had been

  fully exhausted at the highest level. See Trujillo Declaration [Doc. 241-1] at ¶ 10. In making

  this determination, the Defendant relied on Program Statement 4700.06, Food Service Manual,

  and determined that "No other foods are authorized for ceremonial meals." Id. Undersigned

  counsel already argued this in his opposition brief, but did not have the actual document at the

  time. In addition, the Plaintiff provided ten pages of exhibits showing the exhaustion of another

  Eid meal claim designated as 1132971-F2, and his appeal of that. See Exhibit 4 at 10-11. The

  Sentry list provided by the Defendant only shows an F1 designation for this claim, and doesn't



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  show the F2 appeal, which the Plaintiff provides, and doesn't reflect that the Defendants ever

  responded to Plaintiffs' final appeal, Exhibit 4 at 11, or ever assigned an A1 suffix. This is why

  the Court shouldn't be ruling on summary judgment motions before discovery. Nevertheless, the

  Plaintiff proved he took the final step, even though the Defendants never responded. Id. at 11.

  Therefore the Plaintiff has shown that he exhausted this claim on at least two occasions.

  5.     Claim 8: Allegations concerning hunger strikes. ¶¶ 33-36.

         After the Defendants and their agents force-fed the Plaintiff through his nose during a

  hunger strike, in which the Plaintiff was engaged to protest his transfer to a "dangerous" dark cell

  with sharp edges, they physically assaulted him and left him bleeding for hours. The Plaintiff

  avers that the Defendants refused to provide him with a BP-8 form so that he could initiate the

  administrative exhaustion process. See Pro Se Motion, [Doc. 244] at 39. The Plaintiff states that

  when he asked the Unit Manager, he was told to "take us to court." Id. By requesting a BP-8

  form and not receiving one, the Plaintiff exhausted his adminstrative remedies.

  6.     Claim 8: Alleged denial of ability to select his own occupational therapist. ¶¶ 37-38.

         The Plaintiff never filed any claim for the denial of his "ability to select his own

  occupational therapist." This simply reflects the Defendant's strategy of re-characterizing

  Plaintiffs' claims and urging the Court to rule on the Defendants' characterizations of them, rather

  than the allegations. The Defendants' incompetence in caring for disabled prisoners could be

  remedied by allowing the prisoners to have independent medical examinations by qualified

  personnel.   The ADX does not appear to have any other prisoners who are double upper

  amputees, or any staff that have ever treated a double upper amputee before. The provision of a

  cell designed for a person in a wheelchair is a gross insult to the dignity of the prisoner, and the

  placement of the Plaintiff in the ADX something the European Court of Human Rights found



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   would be "impossible," especially after ADX Warden Ron Wiley provided assurances that the

   Plaintiff would not be held in the ADX. The Plaintiff exhausted numerous claims related to his

   prosthetics and cell, detailed in § H below, and had no burden to exhaust a claim for an

   independent occupational therapist, which is a due process issue.

   7.     Claim 8: Alleged denial of mask. ¶¶ 39-40.

          Likewise, although the Plaintiff contracted covid, and prison staff neither provided him

   with a mask, nor required its own staff to wear them with interacting with prisoners, he did not

   file a separate claim for contracting covid. This is just another fact supporting his claim of

   medical neglect, which includes many other things, including dental and vision care, failing to

   provide his prescription medication, failing to remedy the inflammation caused by the materials

   from which his prosthetics are made, failing to provide him with nutritious food that includes

   vegetables, failing to care for his toenails and hair, which he cannot do himself, and other details

   like this. These facts and circumstances are all related and don't have to be broken down into

   smaller claims. Nevertheless, the Plaintiff exhausted his remedies with regard to covid masks, in

   claim # 1047608-A1. See Exhibit 5, attached hereto. This exhibit is a composite of the final

   response in claim 1047608-A1, id. at 2, and earlier correspondence filed by the Plaintiff with his

   pro se motion. The response only vaguely refers to "items you contend you need for your

   disability during the COVID-19 pandemic." Id. The Defendants also responded that "Our

   succeeding review reveals you were seen by prosethics and orthotics on January 26, 2021. It was

   noted you refused to consent to the prosethetics recommendations or to consent to the refinishing

   of your current proesthesis/disability devices; therefore, no changes were made, and no devices

   ordered." The Defendants don't deny that they failed to provide the Plaintiff, or their staff, with

   masks during the pandemic.



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   8.     Claim 8: Alleged mental health/psychological problems. ¶¶ 41-42.

          Undersigned counsel has already argued that the psychological problems resulting from

   his mistreatment are in the nature of damages and were never filed as a separate claim. That

   kind of claim would be for infliction of emotional distress, which the Plaintiff does not make.

   Damages cannot be dismissed on the basis of a Rule 56 motion. Although it is an out of circuit

   case, In re Methyl Tertiary Butyl Ether Prods. Liab. Litig., 517 F. Supp. 2d 662, 666 (S.D.N.Y.

   2007) provides an excellent explanation of the difference between claims and remedies. The

   Defendants shouldn't be filing a Rule 56 Motion before discovery, and a Rule 56 Motion cannot

   be used to limit the remedies, which are questions for the jury. Nevertheless, the Plaintiff

   submitted additional evidence showing that he had exhausted any claims with regard to sleep

   deprivation and his placement on suicide watch, in claim # 1121999-F1. See Exhibit 6 attached

   hereto at 2. The Sentry index shows that the Defendant's Regional Office acknowledged receipt

   of his appeal and assigned it number 1121999-R1. Id. at 2. However, this response was not

   produced by the Defendant, and it does not appear that the Defendants ever replied. Since the

   Defendants never responded to Plaintiffs appeal to the Regional Director, he exhausted his

   administrative remedies with respect to this claim. This once again shows why the Court should

   not be ruling on summary judgment motions before discovery.

   9.     Claims 5 and 6: Rehabilitation Act claims. ¶¶ 43-44.

          The Plaintiff has exhausted numerous claims related to his disabilities, which includes

   both his lack of arms and failing vision. The Plaintiff provided voluminous correspondence on

   this issue in Exhibits 5, 6, 7, 8, and 9 to his pro se motion. This includes the determination in

   claim 877973-A1, see Pro se Motion [Doc. 244] at 82. "[Y]ou allege you [sic] the disability

   items you have are not working, or are dangerous. In addition, you contend the items suggested



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   for use are not for a double amputee. … Our succeeding review reveals that on April 26, 2016,

   the Occupational Therapist wrote a detailed evaluation of your amputee status. They concluded

   you have the ability to complete your Activities of Daily Living using your current prosthetics

   and/or modified technique/adaptive equipment.        Therefore, further intervention discussions

   relating to your adaptive devices will be deferred to Health Services staff at the local level."

   Nothing in this response suggests that the Plaintiff must take additional steps to exhaust these

   claims because they are disability claims, or that the additional exhaustion procedure the

   Defendants claim is required was even known to the Plaintiff. The Plaintiff has been in solitary

   confinement since he was extradited to the US, and has limited abilities to do legal research due

   to restrictions to access to legal materials and lawyers, and had no way to know about these

   additional exhaustion requirements, which are not even mentioned in the Defendants' final

   response. Further, the Plaintiff is only required to exhaust such remedies as are available to him,

   and he used every communication method available to exhaust these claims. He completed

   forms BP-8, 9, 10 and 11 for many claims like this, related to his disabilities. The Defendants do

   not have a separate form for disability claims, and there appears to be no way to further exhaust

   them.   After the BP-11 step there is no other form he can use, and no other means of

   communication is available to him, other than filing pro se motions in court. Undersigned

   counsel listed more than 20 exhausted claims which appear related to disabilities, in his

   Opposition to Defendants' Motion for Summary Judgment. The one argued by the Plaintiff in

   his Pro se Motion [Doc. 244] at 82, #877973-A1, is attached hereto as Exhibit 7.

                                              Conclusion

           The Defendants argue that it is the normal practice of this Court to decide administrative

   exhaustion issues in prisoner cases in "early" Summary Judgment motions, without providing the



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   administrative records to the prisoner or his attorney. If that is true, the Plaintiff can show just

   how misguided the policy is. In this case, the Sentry index entries suggest there are exhausted

   claims that fall into all of the categories of Plaintiff's claims, has he argued in his Opposition

   Brief. The Plaintiff himself knows which of these roughly 498 Administrative Remedy Program

   requests pertain to which of his claims, and a combination of exhibits he provided, and other

   final determinations produced by the Defendants in discovery, show exhaustion of every

   category of claim. The Court should allow the Defendants an equal page length to Reply, and an

   equal amount of time, of seven days. In addition, the court should award attorneys fees to

   undersigned counsel for having to do all this extra work to obtain these Remedy Packets, which

   do not reflect the Defendants' representations about them.

                                         Respectfully submitted,

                                         /s/ Paul Wolf
                                         ________________________
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   February 5, 2022

                                         Certificate of Service

            I hereby certify that on February 5, 2022, I filed the foregoing document, along with its
   Eight (8) Exhibits, with the Clerk of the Court using the Court's Electronic Case Filing (ECF)
   system, which will send notification to the attorneys of record for all other parties in this
   litigation.

                                         /s/ Paul Wolf
                                         _______________________
                                         Paul Wolf, CO Bar #42107
                                         Attorney for Mostafa Kamel Mostafa



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